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 4   Attorney for FRANCISCO JAVIER VELASCO
 5
                                       UNITED STATES DISTRICT COURT
 6
                                      EASTERN DISTRICT OF CALIFORNIA
 7
 8
     UNITED STATES OF AMERICA,                  )                Case No. 2:09-cr-00094-MCE
 9                                              )
                          Plaintiff,            )                DEFENDANT FRANCISCO JAVIER
10                                              )                VELASCO’S WAIVER OF APPEARANCE
                   vs.                          )
11                                              )
     FRANCISCO JAVIER VELASCO,                  )                DATE: October 14, 2010
12                                              )                TIME: 9:00 AM
                          Defendant.            )                DEPT: Hon. Morrison C. England, Jr.
13   __________________________________________ )

14   TO THE HONORABLE COURT:
15            Defendant Francisco Javier Velasco hereby knowingly, voluntarily and intelligently
16   waives his right to be present at the hearing on motions currently scheduled for
17   October 14, 2010, where his presence is not necessary to ensure his constitutional rights.
18   Defendant Velasco also knowingly, voluntarily and intelligently waives his right to be
19   present at these proceedings under Federal Rules of Criminal Procedure, Rule 43.
20   Defendant Velasco agrees to appear on October 18, 2010 or any other date that the court
21   should set.
22            Executed this 13th day of October, 2010, at Fresno, California.
23
24                                                           /s/ Francisco Javier Velaso
                                                             FRANCISCO JAVIER VELASCO
25
              Executed this 13th day of October, 2010, at Fresno, California.
26
27                                                           /s/ Daniel A. Bacon
                                                             DANIEL A. BACON, Attorney for
28                                                           FRANCISCO JAVIER VELASCO


     Defendant Francisco Javier Velasco’s Waiver of Appearance                                         1
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 1                                                          ORDER
 2            This matter came before the court on defendant Francisco Javier Velasco’s ex parte
 3   request that his personal appearance at the October 14, 2010 motions hearing be
 4   excused. The court hereby grants the defendant’s ex parte application and excuses his
 5   appearance on October 14, 2010.
 6
      Dated: October 18, 2010
 7
 8                                                           ______________________________
                                                             MORRISON C. ENGLAND, JR.
 9
                                                             UNITED STATES DISTRICT JUDGE
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     Defendant Francisco Javier Velasco’s Waiver of Appearance                                2
